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                                                              Northern District of WV
                                             1:17-CV-184 (Keeley)
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